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  IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                   DISTRICT OF GEORGIA
                    ATLANTA DIVISION

DONNA CURLING, et al.,

      Plaintiffs,
                                              Civil Action No.: 1:17-CV-2989-AT
         v.

BRAD RAFFENSPERGER, et al.,

      Defendants.


                       NOTICE OF CHANGE OF ADDRESS

       COMES NOW, David D. Cross, counsel for Plaintiffs Donna Curling,

Donna Price, and Jeffrey Schoenberg, and files this Notice of Change of Address

in the above-captioned case. All future pleadings, memoranda, correspondence,

orders, etc., shall be sent to:

               Law Firm:          Goodwin Procter LLP

               Address:           1900 N Street, NW
                                  Washington, DC 20036
               Telephone No.:     (202) 346-4050
               Fax No.:           (202) 346-4444
               Email:             DCross@goodwinlaw.com


This 3rd day of July, 2024.
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                            Respectfully submitted,
                            /s/ David D. Cross
                            David D. Cross (pro hac vice)
                            GOODWIN PROCTER LLP
                            1900 N Street, NW
                            Washington, DC 20036
                            Phone: (202) 346-4050
                            Fax: (202) 346-4444
                            DCross@goodwinlaw.com
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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 3, 2024, I caused a true and correct copy of the

foregoing to be served upon counsel of record as of this date by filing the same

through the ECF system.

                                      /s/ David D. Cross
                                      David D. Cross
